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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

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Inre Chapter 11
MATTRESS FIRM, INC., ef a. | Case No, 18-12241 (CSS)
Debtors. Jointly Administered
' Re: Docket No. 364
x

ORDER PURSUANT TO §105(a) AND §362(d) OF THE
BANKRUPTCY CODE MODIFYING THE AUTOMATIC STAY
TO ALLOW TEMPUR-PEDIC NORTH AMERICA, LLC,
TEMPUR-PEDIC MANAGEMENT, LLC AND DAN-FOAM APS
TO PROCEED WITH CERTAIN DISTRICT COURT LITIGATION

Upon the motion (the “Motion” of Tempur-Pedic North America, LLC, Temput-
Pedic Management, LLC and Dan-Foam ApS (collectively, “Tempur-Sealy”), seeking entry of an
order pursuant to sections 105(a) and 362(d) of title 11 of the United States Code (the “Bankruptcy
Code”) lifting the automatic stay to allow Tempur-Sealy to proceed with certain pending litigation
in the United States District Court for the Middle District of Florida Tampa Division, Case No.
8:18-CV-02147-VMC-SPF (respectively, the “Florida Court” and the “Florida Litigation”), and
adequate notice of the Motion having been given to the United States Trustee, counsel to the
Debtors, and all parties requesting notice pursuant to Rule 2002 of Federal Rules of Bankruptcy

Procedure; and it appearing that no other or further notice need be given; and the Court having

found that it has jurisdiction to consider the Motion under 28 U.S.C. §§ 157 and 1334; and having

 

' The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address
is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which
are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
agent at http://dm.epiq! I.com/MattressFirm or by contacting counsel for the Debtors.

2 Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.

 
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found that this is a core proceeding under 28 U.S.C. § 157(b)(2); and having found that venue in
this district is proper pursuant to 28 U.S.S. §§ 1408 and 1409; and after due deliberation and
sufficient cause appearing therefor, it is hereby ORDERED that:

1, The Motion is GRANTED as set forth herein.

2. The automatic stay imposed by the filing of the Petition (the “Automatic
Stay”) herein be and the same hereby is modified as set forth herein, pursuant to 11 U.S.C. § 105(a)
and § 362(d)(1) of the Bankruptcy Code, soley to allow the Magistrate Judge in the Florida
Litigation to issue the Report and Recommendation ( the “R&R”) in respect of Tempur-Sealy’s
Motion for a Preliminary Injunction [D.1. 8 in the Florida Litigation], provided however, that the
time periods set forth in the Florida Court’s Local Rule 6.2 and 28 U.S.C. § 636(b)(1)(c) shall
start to run from the later of (a) the issuance of the R&R; (b) the effective date of the Debtors’ Plan
of Reorganization; or (c) November 30, 2018.

3, Notwithstanding paragraph 2 hereof, the Automatic Stay shall be
terminated, pursuant to 11 U.S.C. § 105(a) and 11 U.S.C. § 362(d)(1), solely with respect to the
Florida Litigation, on the earlier of the effective date of the Debtors’ Plan of Reorganization and
November 30, 2018.

4, The relief set forth in this Order shall be effective as of the date hereof.

5, This Court shall retain jurisdiction with respect to all matters arising from
and related to the implementation of this Order.

‘Dated: November 20, 2018
Wilmington, Delaware MEG) 2

THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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